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                   Exhibit B
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                                      In the Matter Of:

                                      DEREK SCHALL

                                               vs

                      SUZUKI MOTOR OF AMERICA, INC., ET AL.
                       ____________________________________________________


                                       Jeffrey D. Hyatt

                                        August 08, 2018

              _____________________________________________________
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 ·1· · · ·A.· · It is a four-year bachelor of science
 ·2· ·degree from the University System of Georgia.
 ·3· · · ·Q.· · Are you a mechanical engineer?
 ·4· · · ·A.· · I have a degree in mechanical engineering
 ·5· ·technology, but I do not have an engineering
 ·6· ·license.· So that has some distinctions under the
 ·7· ·rules of engineering in Georgia.
 ·8· · · ·Q.· · Are you considered a technologist or a
 ·9· ·technician?
 10· · · ·A.· · No, because the background, my background
 11· ·is in an engineering discipline, and I'm authorized
 12· ·to take the engineering exam if I so choose.
 13· · · ·Q.· · And you've taken it once?
 14· · · ·A.· · I have.
 15· · · ·Q.· · And how did you do?
 16· · · ·A.· · I didn't pass it.
 17· · · ·Q.· · Have you taken it again?
 18· · · ·A.· · No.
 19· · · ·Q.· · And you took it in '98?
 20· · · ·A.· · '08.
 21· · · ·Q.· · 2008.· On your CV you say you took a state
 22· ·of Georgia Fundamentals of Engineering exam in 1998?
 23· · · ·A.· · Correct.
 24· · · ·Q.· · That was for engineers in training?
 25· · · ·A.· · That is a Fundamental of Engineering exam


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 ·1· ·that is an eight-hour exam to -- basically it covers
 ·2· ·the basics of engineering principles.· It's a
 ·3· ·precursor to taking the BE exam.
 ·4· · · ·Q.· · Have you ever had a motorcycle license?
 ·5· · · ·A.· · No.
 ·6· · · ·Q.· · Ever taken a motorcycle training course?
 ·7· · · ·A.· · No.
 ·8· · · ·Q.· · Have you ever owned a motorcycle?
 ·9· · · ·A.· · No.
 10· · · ·Q.· · Have you ever ridden a 2007 GSX-R600?
 11· · · ·A.· · No.
 12· · · ·Q.· · Have you ever ridden any GSX-R600?
 13· · · ·A.· · Not a 600.
 14· · · ·Q.· · And as to any GSX-R, I think you've told
 15· ·me you rode one in a parking lot for a few feet?
 16· · · ·A.· · Well, when I -- and since we've last
 17· ·talked, I rode the Malouf bike, the test bike, again
 18· ·when we set it up for the most recent testing, and I
 19· ·rode it in the ATS parking lot for several laps.
 20· · · ·Q.· · But not for testing purposes?
 21· · · ·A.· · For my own testing and feeling, but when
 22· ·the official test came, we hired a rider.
 23· · · ·Q.· · Are your opinions fully disclosed in the
 24· ·reports that you've prepared in this matter?
 25· · · ·A.· · Except for the demonstrative evidence that


                                                                                       YVer1f
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 ·1· ·documented.
 ·2· · · ·Q.· · And I think that a word description of
 ·3· ·that is perhaps on page 6 of your report?
 ·4· · · ·A.· · Are you asking a question, or?
 ·5· · · ·Q.· · I'm just confirming that.
 ·6· · · ·A.· · Right.· Yeah, the procedure is basically
 ·7· ·here on page 6.
 ·8· · · ·Q.· · And was the lever taken to the grip, or
 ·9· ·was it taken to a point at five millimeters away
 10· ·from the grip?
 11· · · ·A.· · As close to the grip as I could get just
 12· ·to give it full travel.· I didn't try to stand off
 13· ·the five millimeter.· But I didn't want to have grip
 14· ·force, you know, pushing into the grip affecting the
 15· ·reading.
 16· · · ·Q.· · And just to be specific, this was done in
 17· ·a laboratory with the motorcycle not running, the
 18· ·engine wasn't running?
 19· · · ·A.· · Correct.
 20· · · ·Q.· · It was on the kickstand, on the side
 21· ·stand?
 22· · · ·A.· · I think it was -- actually, I was on it
 23· ·sitting up, so I stood it up off the kickstand.
 24· · · ·Q.· · But it was, in other words, static, if you
 25· ·will?


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 ·1· · · ·A.· · It was.
 ·2· · · ·Q.· · Okay.· Then let's go to page 7 of your
 ·3· ·report.· This is still the Exhibit 3, which is the
 ·4· ·October 2017 report.· Tell me what Figures 9 and 10
 ·5· ·are.
 ·6· · · ·A.· · Figures 9 and 10 are a pre-2004 Suzuki
 ·7· ·GSX-R master cylinder, commonly referred to in
 ·8· ·industry parlance as the "axial design master
 ·9· ·cylinder."
 10· · · ·Q.· · And Figure 10 shows the piston has been
 11· ·removed from the bore?
 12· · · ·A.· · It has.
 13· · · ·Q.· · And the piston in this master cylinder is
 14· ·made of zinc?
 15· · · ·A.· · It is.
 16· · · ·Q.· · As far as you know is it the same zinc
 17· ·material that was in Mr. Schall's piston?
 18· · · ·A.· · I haven't analyzed it.· I don't know that
 19· ·it's going to be a Zamak 5, but it's very likely
 20· ·that it is.
 21· · · ·Q.· · And are you -- am I correct that you
 22· ·believe that this was an example of a safer
 23· ·alternative design that was available to be used in
 24· ·Mr. Schall's motorcycle?
 25· · · ·A.· · Well, what I pointed out is is that this


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 ·1· ·and the analysis of the material and its positioning
 ·2· ·and my experience with the other pistons that I have
 ·3· ·examined in other cases, and the material is
 ·4· ·absolutely consistent with zinc corrosion of the
 ·5· ·piston at the steel spring interface.
 ·6· · · ·Q.· · Now, when you say the material, are you
 ·7· ·referring to only the XRD analysis done here at ATS?
 ·8· · · ·A.· · The corrosion product, when I say the
 ·9· ·material.· The corrosion product that we removed,
 10· ·but I also observed and some of it wasn't removed.
 11· · · ·Q.· · So that's the basis for that Opinion 1?
 12· · · ·A.· · Yes.
 13· · · ·Q.· · Now, would I be correct to understand that
 14· ·you cannot say as a matter of reasonable engineering
 15· ·certainty when that corrosion began?
 16· · · · · · ·MR. ELLIS:· Objection.
 17· · · · · · ·MR. RIGGS:· What's the objection?
 18· · · · · · ·MR. ELLIS:· I mean, reasonable certainty
 19· ·isn't the standard.· It's reasonable probability, so
 20· ·it's a misleading question.· But go ahead.
 21· ·BY MR. RIGGS:
 22· · · ·Q.· · Go ahead.
 23· · · · · · ·MR. CASHEN:· Go ahead and answer.
 24· · · ·A.· · Okay.· No, I cannot say exactly when it
 25· ·began.· It definitely began when it was still


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 ·1· ·assembled in the motorcycle.· The unknown, Dr. Pound
 ·2· ·doesn't know.· I can't tell you exactly when it is
 ·3· ·that it began.· But it is and was present at the
 ·4· ·time of disassembly of it in April of 2014.
 ·5· ·BY MR. RIGGS:
 ·6· · · ·Q.· · Would it also be correct that you have no
 ·7· ·opinion as to the quantity of zinc, if any, that had
 ·8· ·alluded or dissolved as of the date of the accident?
 ·9· · · ·A.· · No.
 10· · · ·Q.· · You agree with that, you don't have an
 11· ·opinion?
 12· · · ·A.· · I don't have an opinion on that.
 13· · · ·Q.· · Would I be correct to understand that you
 14· ·do not have any opinion as to the amount or
 15· ·percentage of water, if any, that was in the brake
 16· ·fluid as of the time of the accident in July of
 17· ·2013?
 18· · · ·A.· · Well, in our experience it would probably
 19· ·not be less than what was measured, but I don't know
 20· ·what it was the day of the accident, versus, you
 21· ·know, the day it was tested.
 22· · · ·Q.· · And would I -- wouldn't it be reasonable
 23· ·to assume that while you say it wasn't less than, in
 24· ·all probability it increased between the date of the
 25· ·accident and the date that the fluid was sampled?


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 ·1· · · ·Q.· · You'd defer to your testimony under oath
 ·2· ·in Johns, I take it?
 ·3· · · ·A.· · Yes.
 ·4· · · ·Q.· · Okay.· I think we've covered No. 5.
 ·5· · · · · · ·No. 6.· Is there anything in No. 6 that's
 ·6· ·not covered in Opinions 3 and 4?
 ·7· · · ·A.· · I think it just restates the nature of the
 ·8· ·defect in the recall because their remedy was to
 ·9· ·move the -- I believe the -- excuse me -- the fluid
 10· ·port at the topside, reposition it because of the
 11· ·corrosion problem.
 12· · · ·Q.· · Okay.· Then let's go to Opinion 7.· And
 13· ·this is you have basically four bullets there;
 14· ·correct?
 15· · · ·A.· · Yes.
 16· · · ·Q.· · And what you've done is you're just
 17· ·referring to documents that have been produced by
 18· ·the defendants in this case, four documents produced
 19· ·either by Suzuki or by Nissin Kogyo; correct?
 20· · · ·A.· · Correct.
 21· · · ·Q.· · Do you have any information about these
 22· ·documents, other than what's in the document
 23· ·themselves?
 24· · · ·A.· · I do not.
 25· · · ·Q.· · Okay.· Let's go to Exhibit 4, which is


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·1· ·your supplemental report dated April 4th of 2018.
·2· · · ·A.· · All right.
·3· · · ·Q.· · And I think, as you previously testified
·4· ·today, the purpose of this report was to put forth
·5· ·two additional documents that were attached to this
·6· ·report.· One is the March 19, 2013, PowerPoint that
·7· ·was Appendix A.· And the other was Appendix B, which
·8· ·is that promotional material of a Brembo front brake
·9· ·master cylinder?
10· · · ·A.· · Yes, yes.
11· · · ·Q.· · Okay.
12· · · ·A.· · Now, in going with the Brembo I think
13· ·there is also photographs in the file of my
14· ·disassembly.· I did purchase one.· I did disassemble
15· ·it, did inspect it and compare it to the Suzuki GSR
16· ·master cylinder.· So those are also in the file.                      I
17· ·don't think they are mentioned in the report.
18· · · ·Q.· · Well --
19· · · ·A.· · But their photographs are in the report.
20· · · ·Q.· · Yeah.· Let's look at -- my copy said --
21· ·are they all page 5 of 5?
22· · · ·A.· · They are.· They sure are.· The formatting
23· ·thing died on me and I didn't catch it, so.
24· · · ·Q.· · Okay.· Well, let's look at --
25· · · ·A.· · Which page 5 you want to look at?


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·1· ·you have basically half your brakes available from
·2· ·what they were, and we were able to generate at five
·3· ·miles an hour a stopping, which pulls the back wheel
·4· ·off the ground, and so you lock the front wheel and
·5· ·so you could generate this at low speed very quick,
·6· ·rapid stopping event.
·7· · · · · · ·However, 25 miles an hour and we didn't
·8· ·get anywhere near full braking out of that same
·9· ·motorcycle under the same conditions because of the
10· ·inertia of the motorcycle and the inertia of the
11· ·wheel and everything that the brake has to overcome
12· ·its speed.
13· · · · · · ·So what it told us was if you did a brake
14· ·check on a bike with 50 percent air or so in the
15· ·master cylinder, you might not know when you went
16· ·out for your ride that you actually had a depleted
17· ·or a spongy brake if you depended on the stop check
18· ·because you're going to make a very effective quick
19· ·stop and it feels like you've got good brakes when
20· ·you actually don't.
21· · · ·Q.· · What, if any, opinion does this testing
22· ·support that you're offering in the Schall case?
23· · · ·A.· · This opinion and the demonstrative
24· ·evidence, I would call this a demonstrative exhibit,
25· ·is that Mr. Schall has gas in his master cylinder.


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·1· ·The gas resulted perhaps in a reduced braking.· It
·2· ·might explain how you might not understand that you
·3· ·have reduced braking if you did a stop check or a
·4· ·quick check, it would explain that it might not be
·5· ·detectable to a rider unless they had a good
·6· ·understanding of the difference in the feel of the
·7· ·brake lever.
·8· · · · · · ·(Defendant's Exhibit 15 marked.)
·9· ·BY MR. RIGGS:
10· · · ·Q.· · Let me hand you what I have marked as
11· ·Exhibit 15.· Would you identify that for the record?
12· · · ·A.· · Yes.· Yes, this is my actual printed page
13· ·from my Excel spreadsheet.· The Excel spreadsheet is
14· ·on the thumb drive with the photographs and
15· ·everything and the videos from the test.
16· · · · · · ·I think those were provided to Mr. Tyler
17· ·in advance, Tyler Thompson, in advance.· And you may
18· ·have already had a chance to look at them, but,
19· ·anyway, the videos and everything are on there.
20· · · · · · ·This is actually the data collected, and
21· ·then the subsequent calculation of the deceleration
22· ·values for the motorcycle during the individual
23· ·stops.
24· · · ·Q.· · Okay.· Let's clear that up.· That column
25· ·that says "average coefficient of friction mu?


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·1· ·BY MR. RIGGS:
·2· · · ·Q.· · Now, what is Exhibit 16?
·3· · · ·A.· · These are my actual notes from the set-up
·4· ·of the test and conducting of the test.
·5· · · ·Q.· · And so this was done -- that's your file
·6· ·number, the D number, that's for the Winckler case?
·7· · · ·A.· · It is.
·8· · · ·Q.· · And this was on April 25th of this year?
·9· · · ·A.· · Yes.
10· · · ·Q.· · And what motorcycle were you using?
11· · · ·A.· · I was using Mike Malouf's exemplar GSX-R
12· ·1000.
13· · · ·Q.· · And who is the rider?
14· · · ·A.· · Brian Stokes.· He is a professional race
15· ·rider hired by Mr. Bankston to do this ride.
16· · · ·Q.· · He's a personal friend of Mr. Bankston's,
17· ·isn't he?
18· · · ·A.· · I don't know.· I never met the man, so I
19· ·have no idea.
20· · · ·Q.· · And then on this first page you say
21· ·initial brake lever force, the set-up in the shop
22· ·was 68 pounds.· But then you set it up again at the
23· ·test site at 78 pounds?
24· · · ·A.· · Yes.
25· · · ·Q.· · First of all, on Exhibit 15 it says


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·1· ·are thumbnails.· And there is also another copy of
·2· ·the test data in the back of the file.
·3· · · ·Q.· · And in looking at that can you decide if
·4· ·it was -- the first five runs were at 72 or
·5· ·78 pounds of brake lever force?
·6· · · ·A.· · Oh, I probably am going to have to put
·7· ·them on the computer and zoom in.
·8· · · · · · ·Let me show you the photograph, where it's
·9· ·going to be.· And it's going to be in image IMG0015
10· ·should be where the brake lever force is recorded.
11· · · · · · ·And it appears -- and I'll have to show it
12· ·to you -- the display actually shows zero.· But
13· ·there's a -- right up here in the upper right-hand
14· ·corner of the screen is the maximum force number
15· ·recorded, and it's basically a highest -- high up --
16· ·the highest number read is right there.· So if we
17· ·put it on the computer and zoom it in, or print the
18· ·picture bigger, you can see it.
19· · · ·Q.· · So it's 72 or 78 pounds of brake lever
20· ·force?
21· · · ·A.· · Correct.
22· · · ·Q.· · Okay.· Now, you did the first five runs at
23· ·that setting?
24· · · ·A.· · Back to my data.· Yes, we didn't do --
25· ·change anything on the first five runs, just trying


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·1· ·to get maximum performance stops, front brake only.
·2· · · ·Q.· · And did you retest the brake lever force
·3· ·during those five runs?
·4· · · ·A.· · No.· No, we did not.
·5· · · ·Q.· · And did you collect any other data?
·6· · · ·A.· · Other than what was video captured, no.
·7· · · ·Q.· · So would it be fair to say the only data
·8· ·collection for this demonstration was by video
·9· ·camera, or still photograph?
10· · · ·A.· · Correct, and tape measure after the stops.
11· ·Did you understand, or have you watched the videos,
12· ·there is a paintball gun in use?
13· · · ·Q.· · (Nods head affirmatively.)
14· · · ·A.· · Okay.· So the paintball fires, and we
15· ·measure from where the bike stops back to the
16· ·paintball.· That gives us total distance.
17· · · ·Q.· · And when does it fire?
18· · · ·A.· · At the moment the break lever moves.
19· · · ·Q.· · First movement?
20· · · ·A.· · First movement, not before brakes come
21· ·off.· What it gives you is it gives you that total
22· ·brake wind up and then full braking.· So you get all
23· ·of that in that total stopping number.
24· · · ·Q.· · And -- okay.· Is there any record of how
25· ·firmly the rider squeezed the brake lever in any of


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·1· ·these runs?
·2· · · ·A.· · Only what was captured on the video.· His
·3· ·instructions were to stop it as fast as you can.
·4· · · · · · ·Now, you can see on number one after his
·5· ·little incident with flipping the bike over on his
·6· ·set-up run, he was a little tentative, he didn't
·7· ·pull it as hard as he could have because he only got
·8· ·a .54 decel.
·9· · · · · · ·Later on he was getting more aggressive
10· ·with his stops as he got a better feel for how to
11· ·make a max performance stop without locking it up.
12· · · ·Q.· · Well, and in fact if we look at runs one
13· ·and three, run one is at 20 miles per hour and run
14· ·three is at 26 miles an hour.· Now 26 miles an hour
15· ·is like 30 percent faster, would you agree with
16· ·that?
17· · · ·A.· · Yeah, roughly.
18· · · ·Q.· · Okay.· And the stopping distance is
19· ·exactly the same, 25 feet?
20· · · ·A.· · Make sure I transcribed that correctly.
21· ·Yeah.
22· · · ·Q.· · And we know the brake lever force is
23· ·exactly the same, 72 or 78 pounds?
24· · · ·A.· · Right.
25· · · ·Q.· · And so the only difference is how firmly


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·1· ·the rider squeezes the brake lever?
·2· · · ·A.· · And how rapidly he comes in because it's
·3· ·going to -- the moment that brake fires, if he eases
·4· ·on the brakes, then he's going to have a longer run,
·5· ·if he comes in quick, he's going to have a shorter
·6· ·run.· But the only variable is how hard he squeezes.
·7· · · ·Q.· · Okay.· Now, in each and every -- well,
·8· ·okay, so that's the first five runs.· And then the
·9· ·run six, seven and eight, what did you do then?
10· · · ·A.· · There we -- I injected an amount of air
11· ·similar to the way I did it on the bleed -- ability
12· ·to bleed test.· Took a syringe, loosened the brake
13· ·bleeder, and injected a volume of air until I
14· ·reduced the brake lever force to 32 pounds.
15· · · ·Q.· · And did you measure the volume of air, or
16· ·were you simply going until you got to 32 pounds?
17· · · ·A.· · The second, going to 32 pounds was the
18· ·target.
19· · · ·Q.· · And so run six, seven and eight were all
20· ·done at 32 pounds of brake lever force?
21· · · ·A.· · Yes.
22· · · ·Q.· · And, again, I'm not trying to -- I mean,
23· ·on page Exhibit 16 it says 33 pounds, but you're --
24· · · ·A.· · And I think the data on the screen -- I
25· ·think I rounded that off, but the data on the screen


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·1· ·actually when I go back and looked at the
·2· ·photographs making this chart with the video and the
·3· ·speed and everything, the number was 32.
·4· · · ·Q.· · And then you recorded the speeds and the
·5· ·stopping distances and the calculated deceleration
·6· ·rate; correct?
·7· · · ·A.· · Yes.
·8· · · ·Q.· · Okay.· Now, isn't it true that the rider
·9· ·was able to lock up the front wheel on each of these
10· ·eight runs?
11· · · ·A.· · At the end -- now, at the end of the runs
12· ·when he got down to low speed and the inertia bled
13· ·off, yes, he could make a stopping.· But that was
14· ·the interesting part, it wouldn't lock up until he
15· ·got down low.· The brake didn't have enough
16· ·capability to overcome the inertia of the motorcycle
17· ·and the wheel until it got down to very low speed,
18· ·and then it would suddenly lock.
19· · · ·Q.· · Well, what speed was he in his first run
20· ·when he did an endo?· Do you know what speed he was
21· ·going?
22· · · ·A.· · Oh, he was probably doing 5, 10 miles an
23· ·hour.
24· · · ·Q.· · Well, we don't have that.· Are you
25· ·testifying?


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·1· · · ·A.· · I'm not testifying any facts about that
·2· ·event other than the --
·3· · · ·Q.· · We don't know how fast he was going, but
·4· ·we know that he ended up on -- did he actually end
·5· ·up on the ground?
·6· · · ·A.· · He ended up with -- on the ground with the
·7· ·motorcycle on top of him.
·8· · · ·Q.· · Was he injured?
·9· · · ·A.· · He was not injured.· That's why it was --
10· ·that's why we were entertained.· If he had been
11· ·hurt, it wouldn't have been as entertaining, but he
12· ·was just fine and we continued.
13· · · ·Q.· · Well, in looking at Exhibit 5, that's what
14· ·I wanted to ask.· And I have highlighted that last
15· ·phrase there "cannot lock its brake at high speed."
16· ·What speed are you referring to?
17· · · ·A.· · In these 24- to 25-mile-per-hour runs with
18· ·the 32 pounds of force.
19· · · ·Q.· · Well, now, my understanding is, and
20· ·correct me if I'm wrong, but he was instructed to
21· ·not do an endo; in other words, he was trying not to
22· ·lock it up?
23· · · ·A.· · On the first runs, yes.· On the second
24· ·runs he was making a full pull and this was the best
25· ·he could get.


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·1· · · ·Q.· · Where does it say that?
·2· · · ·A.· · I'm telling you that.· That was my
·3· ·instruction to him is make a maximum performance
·4· ·stop.· And it wouldn't lock until -- again, that's
·5· ·why he got those jerks is because he was holding
·6· ·down and not letting off, and he gets those jerks at
·7· ·the end of his run.
·8· · · ·Q.· · So you're telling me -- now, this is
·9· ·something new.· So you told him to do it differently
10· ·for the six, seven and eight than for the first
11· ·five?
12· · · ·A.· · Oh, I asked him to make a maximum
13· ·performance effort.· But I think in his original --
14· · · ·Q.· · On which one?
15· · · ·A.· · On all of them I wanted a maximum
16· ·performance effort.· I think for his runs here --
17· ·and you'll have to talk to Mr. Stokes if you want
18· ·more detail because I can't say what he felt.· But
19· ·he's making these maximum decel efforts without
20· ·losing control of the motorcycle.
21· · · ·Q.· · And so at least as we sit here, we don't
22· ·know how close he got to the grip on any of these
23· ·runs, do we?
24· · · ·A.· · Only what's captured in the video.
25· · · ·Q.· · And you've looked at the video.· And there


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·1· ·You get two benefits.· You get the water out, and
·2· ·you get new corrosion inhibitors.
·3· · · ·Q.· · Which prevents -- and you also prevent
·4· ·acidification of the fluid by changing it on a
·5· ·regular basis, don't you?
·6· · · ·A.· · Well, it removes the acidified fluid and
·7· ·replaces it.
·8· · · ·Q.· · Okay.· Okay.· Now, in your report today
·9· ·you've talked a bit about corrosion and galvanic
10· ·coupling.· Other than -- well, have you published
11· ·any papers on corrosion?
12· · · ·A.· · No.
13· · · ·Q.· · And, obviously, you're not a metallurgist;
14· ·right?
15· · · ·A.· · No.
16· · · ·Q.· · And you don't consider yourself to be an
17· ·expert in materials sciences, a materials engineer,
18· ·fair?
19· · · ·A.· · No, I don't practice in that region.· I do
20· ·have some -- you know, I work in a materials lab, so
21· ·for the last, you know, almost 23 years I have
22· ·worked side by side with our materials and
23· ·metallurgists so I have got a certain amount of OJT
24· ·in materials science.
25· · · · · · ·But in the galvanic corrosion question in


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